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IN THE UNITED STATES DISTRICT COURTS »59 6-5 5 ay yo ce

FOR THE NORTHERN DISTRICT OF TEXAS oe

DALLAS DIVISION . a
DEPUTY CLERA ——

UNITED STATES OF AMERICA NO.
¥ 3-22CRO338-xX
OBADIAH FRASER
INDICTMENT
The Grand Jury charges:
Count One

Production of Child Pornography
(Violation of 18 U.S.C. § 2251(a))

On or about February 6, 2022, in the Dallas Division of the Northern District of
Texas, the defendant, Obadiah Fraser, did use, persuade, induce, and entice a minor to
engage in sexually explicit conduct for the purpose of producing a visual depiction of
such conduct, and for the purpose of transmitting a live visual depiction of such conduct,
which visual depiction was transported and transmitted using any means and facility of
interstate and foreign commerce and in and affecting interstate and foreign commerce;
and which visual depiction was produced and transmitted using materials that had been
mailed, shipped and transported in and affecting interstate and foreign commerce by any
means, including by computer. Specifically, the defendant Obadiah Fraser, did use,
persuade, induce, entice and coerce Jane Doe, a minor known to the Grand Jury, to
engage in sexually explicit conduct for the purpose of producing visual depictions of such
conduct, including live visual depictions of such conduct, using a communication

application and the Internet.

Indictment—Page 1

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In violation of 18 U.S.C. § 2251(a), the penalty for which is found at 18 U.S.C.

§ 2251(e).

Indictment—Page 2

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Count I'wo
Production of Child Pornography

(Violation of 18 U.S.C. § 2251(a))

On or about May 13, 2022, in the Dallas Division of the Northern District of
Texas, the defendant, Obadiah Fraser, did use, persuade, induce, and entice a minor to
engage in sexually explicit conduct for the purpose of producing a visual depiction of
such conduct, and for the purpose of transmitting a live visual depiction of such conduct,
which visual depiction was transported and transmitted using any means and facility of
interstate and foreign commerce and in and affecting interstate and foreign commerce;
and which visual depiction was produced and transmitted using materials that had been
mailed, shipped and transported in and affecting interstate and foreign commerce by any
means, including by computer. Specifically, the defendant Obadiah Fraser, did use,
persuade, induce, entice and coerce Jane Doe, a minor known to the Grand Jury, to
engage in sexually explicit conduct for the purpose of producing visual depictions of such
conduct, including live visual depictions of such conduct, using a communication
application and the Internet.

In violation of 18 U.S.C. § 2251(a), the penalty for which is found at 18 U.S.C.

§ 2251(e).

Indictment—Page 3

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Indictment—Page 4

A TRUE BILL:

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

THE UNITED STATES OF AMERICA

OBADIAH FRASER

INDICTMENT

Violation of 18 U.S.C. § 2251(a)
Production of Child Pornography
(Count 1)

Violation of 18 U.S.C. § 2251(a)
Production of Child Pornography

(Count 2)

2 Counts
A true bill rendered
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DALLAS 4 FOREPER SON

Filed in open court this % day of September, 2022.

UNITED STATES MAGISTRATE JUDGE
No Criminal Matter Pending

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